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                                                             July 7, 2023

VIA ECF

The Honorable Laura Taylor Swain
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

                                                      Re:      Case No. 23-05751-LGS

Dear Chief Judge Swain:

        We are writing to you in your capacity as a member of the Assignments Committee
pursuant to Rule 2 of the Rules for the Division of Business Among District Judges, Southern
District of New York. We are counsel to the Roman Catholic Diocese of Rockville Centre, NY
(the “DRVC’), in its chapter 11 bankruptcy case pending in the United States Bankruptcy Court
for the Southern District of New York, Case No. 20-12345-MG.

        The above-captioned matter is a motion, pursuant to 28 U.S.C. § 157(b)(5), to transfer 224
personal injury cases related to the DRVC’s chapter 11 case to this District (the “Motion”). Section
157(b)(5) empowers the District Court to transfer such cases to the District where the bankruptcy
case is pending, for resolution in coordination with the bankruptcy case. See In re Pan Am. Corp.,
16 F.3d 513, 516 (2d Cir. 1994). Such a “transfer motion should be made to the district court in
the district where the bankruptcy is proceeding.” Id.

       The DRVC, along with parishes within the DRVC and other affiliated entities, filed the
Motion in this Court on July 5, 2023. However, on July 6, 2023, the Motion was referred to the
Bankruptcy Court. We understand this referral was automatically made pursuant to this Court’s
Standing Order of Reference Re: Title 11, dated January 31, 2012.

        We believe that the automatic reference of this matter to the Bankruptcy Court was in error,
as the statutory text, case law from the Second Circuit, and the general understanding of Section
157(b)(5) all mandate that only the District Court can determine venue for personal injury claims
related to a bankruptcy case.

       For example, the statute provides that the District Court must determine whether to transfer
personal injury cases: “[t]he district court shall order that personal injury tort and wrongful death
claims shall be tried in the district court in which the bankruptcy case is pending, or in the district



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court in the district in which the claim arose, as determined by the district court in which the
bankruptcy case is pending.” 28 U.S.C. § 157(b)(5) (emphasis added).

        Accordingly, the Second Circuit has held that a motion under Section 157(b)(5) “should
be made to the district court in the district where the bankruptcy is proceeding.” Pan Am., 16 F.3d
at 516. Applying Pan Am, the Second Circuit held in In re United States Lines, Inc., 216 F.3d 228
(2d Cir. 2000), that a “bankruptcy court lack[s] the power to set venue under Section 157(b)(5)”
because “[t]here is nothing in the language of Section 157(b)(5) to suggest that a bankruptcy court
can determine venue.” Id. at 235.

       Precedent from other jurisdictions also confirms that the determination of a Section
157(b)(5) motion can be made only by a District Court. See, e.g., In re Dow Corning Corp., 86
F.3d 482, 487 (6th Cir. 1996) (noting that the District Court decided the motion). And
commentators also have uniformly observed that Section 157(b)(5) requires the District Court to
make the determination as to venue for personal injury cases. See 1 Collier on Bankruptcy ¶ 3.06
(16th ed. 2023) (“Section 157(b)(5) provides that the venue of the PITWD trial is to be determined
by the district court in which the title 11 case is pending.”); id. at ¶ 3.06 n.17 (“This language
means that venue cannot be set by a bankruptcy court.”). Indeed, the DRVC is not aware of any
Section 157(b)(5) motion that has been decided by a Bankruptcy Court.

        Such an approach, moreover, makes sense, given that only the District Court has
jurisdiction to hear and determine the personal injury actions that are the subject of the Section
157(b)(5) motion. See 28 U.S.C. § 157(b)(2)(B)(O) (“personal injury tort or wrongful death
claims” are not core matters for which the Bankruptcy Court has jurisdiction to enter final
judgment).

      In light of the foregoing, the DRVC believes that the Motion should not have been
automatically referred to the Bankruptcy Court pursuant to this Court’s Standing Order. The
DRVC respectfully requests that this Court reopen Case No. 23-05751-LGS so that the Motion
may be heard by the District Court.

                                                  Respectfully submitted,

                                                  /s/ Corinne Ball

                                                  Corinne Ball
Cc:
The Honorable Lorna G. Schofield
The Honorable Martin Glenn
The Honorable Sarah L. Cave
